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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

ERASTO ARROYO BARCENAS;                        §
MELVIN AMADOR RODAS; IVAN RUANO                §
NAVA; NOLIS LEYVA-GONZALEZ; JOSE               §
CARLOS GOMEZ-COLORADO; JOSE LUIS               §
DOMINGUEZ-ROJAS; MELVIN AMAYA                  §
ZELAYA; JESUS CURIPOMA; OSCAR                  §
SERRANO MARTINEZ; CHRISTIAN IVAN               §
RUIZ-RODRIGUEZ; ISRAEL BAYLON                  §
ARELLANO; JOSE LOPEZ LOZANO;                   §
MIGUEL LOPEZ LOZANO; FRANCISCO                 §
VILLALPANDO RAMOS; CESAR GALINDO               §
ESCOTO,                                        §
     Plaintiffs,                               §
     Individually and On Behalf of the Class   §
     of Those Similarly Situated,              §
                                               §
VS.                                            §                   Case No. 22-397
                                               §
STEVEN MCCRAW in his individual capacity; §
GREG ABBOTT in his individual and official §
capacities; BRYAN COLLIER in his individual §
capacity; BRAD COE in his individual capacity, §
and KINNEY COUNTY, TEXAS                       §
Defendants.                                    §


                 NOTICE TO THE COURT REGARDING AMICUS BRIEF


TO THE HONORABLE JUDGE OF SAID COURT

       NOW COME PLAINTIFFS and file this Notice to the Court Regarding Amicus Brief, in

support of which would respectfully show the following:

       Attached as Exhibit 1 is a true and correct copy of the email exchange between counsel for

requested amicus curiae and Plaintiff’s counsel. It is the only communication between counsel




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that occurred. As can be seen, Plaintiff’s counsel advised that the requested amicus curiae that the

applicable deadline has passed and that Plaintiffs DID oppose the filing. Plaintiffs have never

represented in any form or manner that Plaintiffs were unopposed to the filing.

                                              Respectfully submitted,


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                                              ATTORNEYS FOR PLAINTIFF

                                      CERTIFICATE OF SERVICE

       On this day of August 23, 2022, Plaintiffs served their Notice on the following counsel via
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                                    s/Susan E. Hutchsion
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                                                          EXHIBIT 1
